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18
                                    UNITED STATES DISTRICT COURT
19                                NORTHERN DISTRICT OF CALIFORNIA
20
   ANIBAL RODRIGUEZ, SAL CATALDO,                               Case No.: 3:20-cv-04688-RS
21 JULIAN SANTIAGO, and SUSAN LYNN
   HARVEY individually and on behalf of all                     PLAINTIFFS’ NOTICE OF MOTION AND
22 other similarly situated,                                    MOTION FOR CLASS CERTIFICATION
                                                                AND   APPOINTMENT      OF  CLASS
23                              Plaintiffs,                     REPRESENTATIVES     AND    CLASS
          v.                                                    COUNSEL
24
                                                                Judge: Hon. Richard Seeborg
25 GOOGLE LLC,
                                Defendant.                      Courtroom 3 – 17th Floor
26                                                              Date: October 5, 2023
                                                                Time: 1:30 p.m.
27

28

      _____________________________________________________________________________________________________________________
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1             PLEASE TAKE NOTICE that on October 5, 2023, at 1:30 p.m., the undersigned will
2     appear before the Honorable Richard Seeborg of the United States District Court for the Northern
3     District of California to move the Court, under Federal Rules of Civil Procedure 23(a), (b)(2), and
4     (b)(3) for an order certifying two classes:
5                     Class 1: All individuals who, during the period beginning July 1, 2016 and
                       continuing through the present (the “Class Period”), (a) had their “Web & App
6                      Activity” and/or “supplemental Web & App Activity” setting turned off and (b)
                       whose activity on a non-Google-branded mobile app was still transmitted to
7
                       Google, from (c) a mobile device running the Android operating system, because
8                      of the Firebase Software Development Kit (“SDK”) and/or Google Mobile Ads
                       SDK.
9
                      Class 2: All individuals who, during the Class Period (a) had their “Web & App
10                     Activity” and/or “supplemental Web & App Activity” setting turned off and (b)
                       whose activity on a non-Google-branded mobile app was still transmitted to
11
                       Google, from (c) a mobile device running a non-Android operating system, because
12                     of the Firebase SDK and/or Google Mobile Ads SDK.

13            Plaintiffs seek to certify nationwide classes for Counts I, II, and III of their Complaint (Dkt.

14 289). Plaintiffs further move for their appointment as class representatives and to appoint David

15 Boies and Mark C. Mao of Boies Schiller Flexner LLP, Bill Carmody of Susman Godfrey LLP,

16 and John A. Yanchunis of Morgan & Morgan as co-lead class counsel. This Motion is based upon

17 this Notice of Motion and Motion, the incorporated Memorandum of Points and Authorities, and

18 the following materials, along with other materials in the record, argument of counsel, and such
19 other matters as the Court may consider:
          1. Declaration of Mark C. Mao and accompanying exhibits;
20        2. Declarations of Amanda Bonn, John Yanchunis, and James Lee;
21        3. Declarations for each proposed class representative;
          4. Declarations (including reports) of the experts retained by Plaintiffs’ counsel (Jonathan
22            Hochman, Bruce Schneier, Michael Lasinski, Mark Keegan, and Cam Azari); and
          5. Plaintiffs’ proposed trial plan.
23
                                          ISSUE PRESENTED
24
          Whether the Court should certify nationwide classes to pursue these claims?
25
                                        RELIEF REQUESTED
26
          Plaintiffs respectfully ask the Court to certify the proposed nationwide classes for all three
27
   claims under both Rule 23(b)(3) and Rule 23(b)(2).
28
                                                               1
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1     FAC at ¶ 90. Through these uniform disclosures, Google stated that WAA “must be on” “to let
2     Google save” information about users’ activity on “sites and apps that use Google services.” And
3     for both classes, Google’s Privacy Policy reinforces this message by assuring users that “across
4     our services, you can adjust your privacy settings to control what we collect and how your
5     information is used.” Exs. 22–35 (versions of Google Privacy Policy in effect from May 2018
6     through today). The Privacy Policy lists these “Privacy Controls,” where a “Go to Activity
7     Controls” hyperlink brings users directly to the (s)WAA toggles. Id. Moreover, the Privacy Policy
8     defines “Google services” to include “[p]roducts that are integrated into third-party apps and sites,
9     like ads [and] analytics”—i.e., the Firebase and GMA SDKs. Ex. 22 at 1; Exs. 23–35 (other
10 versions of the Privacy Policy with same language). 3

11            This Court analyzed Google’s disclosures at the pleadings stage and rejected Google’s
12 argument that Plaintiffs consented to the alleged conduct. “[P]laintiffs did not consent to Google

13 collecting their data, through GA for Firebase, with WAA turned ‘off.’” Dkt. 109 (“MTD

14 Order”) at 7. Instead:

15             Plaintiffs offer a cogent account of why they saw WAA as capable of turning off GA
                for Firebase’s collection of their third-party app data. . . .
16             Where, as here, a company’s public-facing statements are legitimately confusing, it is
                not the public’s fault for being confused. . . .
17
               Google, through the WAA Materials, “set an expectation” that it would not save
18              plaintiffs’ “activity on . . . apps . . . that use Google services” unless plaintiffs turned
                WAA “on.”
19
      Id. at 10, 16 (citations omitted; alterations in original). As discussed above and further below,
20
      Google has produced common evidence in the form of internal emails, studies, and deposition
21
      testimony that confirm the objectively reasonable interpretation of the (s)WAA control: “off”
22
      means “off.” See supra at 2–3 and infra at Section II.B.1–2.
23
              Plaintiffs anticipate Google will argue that this case turns on individualized questions
24
      regarding each class members’ privately held beliefs, rather than the objective meaning of a
25
      3
    Earlier versions of the Privacy Policy likewise represented that “Google activity controls” allows
26
   users to “decide what types of data . . . you would like saved with your account when you use
27 Google services.” Ex. 36 at 5; Exs. 37–41 (same). And they similarly described Google’s
   “services” to include “services offered on other sites (such as our advertising services).” Ex. 36 at
28 8; Exs. 37–41 (same).
                                                               5
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1             Rule 23(b)(2) And Equitable Relief
2             Finally, the Court should also certify both classes for equitable relief under Rule 23(b)(2),
3     as Plaintiffs “seek uniform relief from a practice applicable to all of them.” Ward v. United
4     Airlines, Inc., 2021 WL 534364, at *7 (N.D. Cal. Feb. 12, 2021). Plaintiffs seek a judgment that,
5     at a minimum, requires Google to (1) stop collecting, saving, and using (s)WAA-off app activity
6     data, (2) delete data it already collected, (3) remove products, services, or algorithms developed or
7     improved with that data, and (4) appoint an independent third party to verify that the injunctive
8     relief is fully implemented. Injunctive relief is warranted to address Google’s employees’
9     unanswered cries for help.
10 II.        ARGUMENT
11            A.       California Law Applies to All Claims.
12            “Given that [Google is] headquartered in California, . . . application of California law poses
13 no constitutional concerns in this case.” Forcellati v. Hylands, Inc., 2014 WL 1410264, at *2 (C.D.

14 Cal. Apr. 9, 2014); Dkt. 305 (Google’s Answer) at 4 (acknowledging its California headquarters).

15            There is no reason to depart from the California choice-of-law provision in the Google
16 form contract. The classes are limited to Google accountholders, and Google has a contractual

17 relationship with all accountholders through its Terms of Service. E.g., Dkt. 139 at 21 (Google

18 describing the Terms of Service as an “express contract”). That contract throughout the Class
19 Period provided that “any disputes arising out of or relating to these terms or the Services” are

20 governed by “[t]he laws of California.” Exs. 45–46 at 6; see also Ex. 47 at 13 (choosing “California

21 law”); Ex. 48 at 9 (same). That choice-of-law provision is especially broad because it applies to

22 all disputes—even those “relating to” the agreement. These claims “relat[e]” to the Google Terms

23 of Service, which “establish what [users] can expect from [Google] as you use Google services.”

24 Ex. 48 at 1. Google itself has argued that the Terms of Service “govern[] the same topic” as

25 Plaintiffs’ claims. Dkt. 139 at 20–21.

26            Plaintiffs do not expect Google to abandon its own choice of law, but in any event, Google
27 cannot meet the heavy burden to do so. A California choice-of-law clause “generally will be

28 enforced unless the other side can establish that the chosen law is contrary to a fundamental policy
                                                               7
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1     2015) (“the typicality and adequacy inquiries tend to significantly overlap.”). There is no
2     “conflict[] of interest with other class members.” Staton v. Boeing Co., 327 F.3d 938, 957 (9th Cir.
3     2003). As Plaintiffs state in their declarations, and as proven by their commitment to this case to
4     date, Plaintiffs will “prosecute the action vigorously on behalf of the class.” Id. The same is true
5     of counsel, who have substantial experience with data-privacy class actions and have dedicated
6     more than three years and substantial resources to this litigation. See Bonn, Lee, Yanchunis Decls.
7             C.       Common Issues Predominate Under Rule 23(b)(3).
8             Predominance tests “whether the common, aggregation enabling issues in the case are more
9     prevalent or more important than the non-common, aggregation-defeating individual issues.”
10 Tyson Foods, 577 U.S. at 453. Here, the legal and factual issues are common to the class and

11 “capable of being established through a common body of evidence.” Olean Wholesale Grocery

12 Coop., v. Bumble Bee Foods, 31 F.4th 651, 666 (9th Cir. 2022) (en banc).

13            During discovery, Google repeatedly acknowledged that Plaintiffs’ claims turn on common
14 questions, which are subject to common proof. Google sought to (often successfully) limit

15 discovery by characterizing this case as restricted to two “central questions”: (1) “what Google

16 represented to users” and (2) “the actual technical functioning of the accused technology.” Ex.

17 17 at 3. Google took the position that the “[t]he facts in this case are not complicated, and the

18 questions are straightforward.” Dkt. 105 at 4. In Google’s words, “the bulk of the documents
19 relevant to this case [are] public disclosures, Google policies, and non-public engineering

20 documents.” Ex. 49 at 2. Google reiterated this stance over and over:

21                December 31, 2020: Plaintiffs’ claims “focus on the technical aspects of what Google
                   did and didn’t do, and whether users provided consent.” Ex. 50 at 4.
22
                  February 12, 2021: “Plaintiffs’ claims each fall into the category of claims that rely on
23                 (1) how Google’s products work, and (2) what Google told users about how its products
                   work. . . . [Plaintiffs’] allegations implicate only the two questions identified above:
24                 what does Google say publicly, and what do its products do?” Ex. 51 at 1–2.
25                November 15, 2021: “The theory of the case is therefore narrow: (1) what Google told
                   users about WAA, (2) how GA for Firebase works, and (3) the proper calculation of
26                 damages, if any.” Dkt. 171 at 1–2.
27            There should be no dispute that these “central questions” are answered with common
28 evidence. “This case is about,” again in Google’s own words, “the reasonable expectations of a
                                                               9
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1     user when reading public disclosures about WAA”—an objective, on-off button. Ex. 50 at 4.
2     There are no individualized issues that could predominate over these “central questions.”
3                      1.       Common Issues Predominate for Plaintiffs’ Invasion of Privacy and
                                Intrusion Upon Seclusion Claims.
4
              These claims are ordinarily addressed together. In re Facebook, Inc. Internet Tracking
5
      Litig., 956 F.3d 589, 601 (9th Cir. 2020). For both, courts “ask whether: (1) there exists a
6
      reasonable expectation of privacy, and (2) the intrusion was highly offensive.” MTD Order at 15
7
      (quoting In re Facebook, 956 F.3d at 601). These two elements turn on an objective, “reasonable
8
      person” standard, and they can be proven with common evidence.
9
                                a. Reasonable Expectation of Privacy.
10
              In Google’s words, the relevant question is “what Google told users about WAA.” Dkt.
11
      171 at 1. This first element is satisfied if “a [(s)WAA-off] user would reasonably expect that
12
      [Google] would have access to” data relating to activity on non-Google apps while (s)WAA was
13
      off. In re Facebook, 956 F.3d at 602. “California law does not require Plaintiffs to prove [a]
14
      subjective expectation” of privacy. Opperman, 2016 WL 3844326 at *11. The focus is on the
15
      defendant and “the customs, practices, and circumstances surrounding [its] particular activities.”
16
      In re Facebook, 956 F.3d at 602.
17
              Class certification here is consistent with Judge Tigar’s decision in Opperman, 2016 WL
18
      3844326, at *1. There, the plaintiffs alleged that an app developer invaded their privacy by
19
      collecting contact data from their mobile devices, on which the developer’s app was installed. Id.
20
      The court certified a Rule 23(b)(3) class, rejecting the developer’s objection that “an individual
21
      inquiry will be required into the subjective expectations of each class member.” Id. at *11. In this
22
      case, users’ reasonable expectations of privacy are reflected by common, objective evidence,
23
      including Google’s uniform representations regarding (s)WAA and users’ decision to turn off this
24
      setting, which Google presented as a “privacy control.” E.g., Ex. 31 at 8 (July 1, 2021 Privacy
25
      Policy). Google gave users a button that promised privacy from Google, and these class members
26
      had that button “off”—their objective expectation of privacy could not be clearer. Of course this
27
      “element[] can be proven on a common basis.” Opperman, 2016 WL 3844326, at *11.
28
                                                              10
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1             Google robbed each Plaintiff of their right to privacy, an injury “traditionally recognized
2     as providing a basis for lawsuits in American courts.” TransUnion LLC v. Ramirez, 141 S. Ct.
3     2190, 2204 (2021); In re Facebook, 956 F.3d at 598 (privacy violations “have long been actionable
4     at common law” (citations omitted)). “The intrusion itself makes the defendant subject to liability”;
5     no further injury is required. Campbell v. Facebook, Inc., 951 F.3d 1106, 1117 (9th Cir. 2020).
6     The Named Plaintiffs and the putative class members also have standing by virtue of their “stake”
7     in Google’s “profits from [their] personal data.” Facebook Tracking, 956 F.3d at 600 (holding that
8     this “stake,” provided by California law, is “sufficient to confer Article III standing”). Moreover,
9     Google leached battery life and bandwidth from Plaintiffs’ devices to advance Google’s business
10 interests when it took their data without permission. See Section II.C.2. These injuries are

11 substantiated by Plaintiffs’ declarations, testimony, and expert opinions. See Rodriguez, Cataldo,

12 Harvey, Santiago Decls.; Section II.C.4. At this stage, no more is required.

13            E.       A Class Action Is a Superior Method of Adjudication.
14            A class action under Rule 23(b)(3) is superior because it will achieve “economies of time,
15 effort, and expense” while promoting “uniformity of decisions as to persons similarly situated.”

16 Amchem Products v. Windsor, 521 U.S. 591, 615 (1997). Discovery involved a substantial amount

17 of time, effort, and expense. Plaintiffs reviewed over 2 million pages of documents that Google

18 produced (including from 28 Google custodians), took and defended 25 depositions, and retained
19 five testifying experts. “[G]iven the high costs of litigation, the need for expert opinion, and the

20 risks involved, individual suits likely would not make economic sense for a substantial number of

21 putative class members.” Gold v. Lumber Liquidators, Inc., 323 F.R.D. 280, 293 (N.D. Cal. 2017)

22 (Seeborg, J.). Here, “class treatment is likely to reduce litigation costs and promote efficiency

23 relative to trying each case individually.” McCowen v. Trimac Transp. Servs. (W.), Inc., 311 F.R.D.

24 579, 589 (N.D. Cal. 2015) (Seeborg, J.).

25            “Rule 23 does not require a class proponent to proffer an administratively feasible way to
26 identify class members.” Pettit v. Procter & Gamble Co., 2017 WL 3310692, at *2 n.1 (N.D. Cal.

27 Aug. 3, 2017) (Seeborg, J.) (citing Briseno v. ConAgra Foods, Inc., 844 F.3d 1121, 1133 (9th Cir.

28 2017)). “In this Circuit, it is enough that the class definition describes a set of common
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1             Here, Plaintiffs (on behalf of the two classes) seek uniform relief from Google’s ongoing
2     collection, storage, and use of (s)WAA-off app activity data. Plaintiffs specifically seek an order:
3     (1) precluding Google from further collecting, storing, and using consumers’ (s)WAA-off app
4     activity data; (2) requiring Google to delete already collected (s)WAA-off app activity data; (3)
5     requiring Google to delete any products, services, or algorithms built in whole or in part with that
6     unlawfully collected (s)WAA-off app activity data; and (4) appointing an independent third party
7     to verify that the injunctive relief has been (and continues to be) implemented. Plaintiffs’ requested
8     relief is sufficiently detailed at this juncture. Rule 23(b)(2) “ordinarily will be satisfied when
9     plaintiffs have described the general contours of an injunction that would provide relief to the
10 whole class, that is more specific than a bare injunction to follow the law, and that can be given

11 greater substance and specificity at an appropriate stage in the litigation.” Parsons v. Ryan, 754

12 F.3d 657, 689 n.35 (9th Cir. 2014).

13            Injunctive relief here would bring “important changes to reflect transparency in the
14 system.” Brown, 2022 WL 17961497, at *20 (certifying classes under Rule 23(b)(2) for seven

15 claims—including invasion of privacy, intrusion upon seclusion, and the CDAFA—where the

16 plaintiffs seek similar equitable relief related to Google’s collection, storage, and use of data).

17 Courts routinely certify cases under Rule 23(b)(2) pursuing such relief. See, e.g., DZ Rsrv. v. Meta

18 Platforms, Inc., 2022 WL 912890, at *1, 9 (N.D. Cal. Mar. 29, 2022) (certifying injunctive relief
19 class seeking to require Meta to correct/cease certain advertising practices); Yahoo Mail Litig., 308

20 F.R.D. at 600 (certifying injunctive class demanding that Yahoo to stop scanning emails and

21 “permanently delete all data it has collected and stored . . . without consent”). Finally, this Court

22 may certify the claims under both Rule 23(b)(3) and Rule 23(b)(2). In re Xyrem, 2023 WL

23 3440399, at *12 (certifying claims under both Rule 23(b)(3) and (b)(2)).

24 III.       CONCLUSION
25            Plaintiffs respectfully request that the Court certify both classes under Rule 23(b)(3) and
26 Rule 23(b)(2), appoint Plaintiffs as class representatives, and proposed counsel as class counsel.

27 Dated: July 20, 2023                                    Respectfully submitted,
28                                                         By: /s/ Mark Mao
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